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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 CRAIG CUNNINGHAM, an Individual                        )
                                                        )               Case No.: 18-cv-682
        Plaintiff,                                      )
                                                        )
 v.                                                     )
                                                        )
 NIAGARA RESTITUTION SERVICES, INC.                     )
 YAMAL RAMIREZ                                          )
 JOHN/JANE DOES 1-5                                     )
                                                        )
        Defendant.                                      )
                                                        )

                                   NOTICE OF SETTLEMENT

        Defendants Niagara Restitution Services, Inc. and Yamal Ramirez, by and through their

 undersigned counsel, hereby inform the Court that a settlement has been reached in the above

 matter. The parties are finalizing the terms of the settlement and Defendants anticipate that the

 parties will be in a position to file a stipulation of discontinuance in 60 days.

 DATED:         May 7, 2019

                                /s Brendan H. Little
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